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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


        In re Flint Water Cases.
                                                No. 5:16-cv-10444-JEL-MKM
                                                              (consolidated)
                                                         Hon. Judith E. Levy
                                                      Mag. Mona K. Majzoub




        CITY DEFENDANTS' MOTION TO EXTEND TIME TO ANSWER

          Defendant City of Flint ("City") and Defendants Damell Earley, Gerald

  Ambrose, Daugherty Johnson, Michael Glasgow, and Howard Croft ("Individual

  City Defendants") (collectively, "City Defendants"), move to extend the time in

  which they must file an answer to Plaintiffs' Fourth Amended Class Complaint

 ("Complaint"), and in support thereof rely upon the Motion to Strike Allegations

  from Plaintiffs' Fourth Amended Complaint, Fed.R.Civ.P. 12(a)(4)(A) and the brief

  filed in support of this motion. In addition, the Individual City Defendants rely upon

  their notice of appeal as of right from this Court's April 1 Order, also filed the same

  day as this motion.

          Pursuant to E. D. Mich. LR 7.1(a)(2)(A), there was a conference between

  attorneys or unrepresented parties and other persons entitled to be heard on the




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  motion in which the movant explained the nature of the motion or request and its

  legal basis and requested but did not obtain concurrence in the relief sought.

  Respectfully submitted,

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  Dated: April 15, 2019
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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


      In re Flint Water Cases.
                                           No. 5:16-cv-10444-JEL-MKM
                                                         (consolidated)
                                                    Hon. Judith E. Levy
                                                 Mag. Mona K. Majzoub


                                 /

                BRIEF IN SUPPORT OF CITY DEFENDANTS'
                 MOTION TO EXTEND TIME TO ANSWER
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                  STATEMENT OF THE ISSUES PRESENTED

        In the event the court grants the City Defendants' Motion to Strike, should

  City Defendants be provided 14 days after the court rules on the Motion to Strike to

  answer Plaintiff's Fourth Amended 225 page,660 paragraph Complaint,in the same

  way that they are permitted such time if the Motion to Strike is denied under

  Fed.R.Civ.P. 12(a)(4)(A)?
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            CONTROLLING AUTHORITY SUPPORTING MOTION

        Fed.R.Civ.P. 12(a)(4)(A) provides a defendant is granted 14 days to answer a

  complaint after the court denies a motion brought under Rule 12. A motion to strike

  is clearly a motion brought under Rule 12. There is scant authority, and no

  controlling authority, that provides when the complaint must be answered when a

  court rules on a motion to strike some but not all of the complaint. See Barth v.

  United States ofAmerica, 2018 WL 4567702(U.S.D.C. D. Maine).


        The only sensible procedure to follow is the same one that would pertain when

  a court denies a motion to strike, which is to require an answer within 14 days ofthe

  order denying the motion.
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  I.    INTRODUCTION AND BACKGROUND

        On April 1, 2019 this Court issued an Opinion and Order Granting In Part and

  Denying In Part Putative Class Plaintiffs' Motion for Leave to File an Amended

  Complaint [620] and Granting In Part and Denying In Part Defendants' Motion to

  Dismiss(Dkt. 798)("Order"). In the Order, this Court dismissed all claims based on

  alleged race and wealth based discrimination, as well as the gross negligence claim.

  The only surviving Counts in the Complaint' are Count I (Bodily Integrity, against

  all Government Defendants except Lyon, Peeler, Wyant, Kurtz, Wright, and

  Walling), Count VI (Monell claim against the City), Count VII (Professional

  Negligence against the LAN Defendants), and Count VIII (Professional Negligence

  against the Veolia Defendants).

        The dismissal of the majority of Plaintiffs' claims leaves the Complaint

  replete with now-immaterial allegations. Consequently, City Defendants have filed

  a Motion to Strike simultaneously with this Motion. Pursuant to Fed.R.Civ.P.

  12(a)(4)(A), upon the filing of the Motion to Strike, the obligation to file an answer

  to the Complaint is suspended until 14 days after the Court grants or denies that

  Motion. The denial of the claim of qualified immunity gives the Individual City

  Defendants an appeal of right, which they have exercised, While that appeal is



      Tor the purposes of this Motion, "Complaint" refers to Plaintiffs' Fourth
  Consolidated Amended Class Complaint for Injunctive and Declaratory Relief,
  Money Damages, and Jury Demand (Dkt. 620-3).
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   pending, that includes the right to be free of the burdens of litigation. Everson v.

  Leis, 556 F.3d 484, 491 (6th Cir. 2009). That includes the burden of answering.

  Butler v. Sukhoi Co., 579 F.3d 1307, 1311 (11th Cir., 2009). However, in an

   abundance of caution, City Defendants file this Motion to Extend Time.

  II.    ANALYSIS

         A.    AN EXTENSION OF TIME TO ANSWER GIVES NO GREATER
               RELIEF THAN CITY DEFENDANTS ARE ENTITLED TO
               UNDER THE FEDERAL RULES

         Fed. R. Civ. P. 12(f) states in relevant part as follows:

               (0   MOTION TO STRIKE. The court may strike from a pleading an
         insufficient defense or any redundant, immaterial, impertinent, or scandalous
         matter. The court may act:...
                    (2) on motion made by a party either before responding to the
               pleading or, if a response is not allowed, within 21 days after being
               served with the pleading.

  Fed. R. Civ. P. 12(a)(4) states in relevant part as follows:

              (4)Effect ofa Motion. Unless the court sets a different time, serving a
         motion under this rule alters these periods as follows:
                      (A) if the court denies the motion or postpones its disposition
               until trial, the responsive pleading must be served within 14 days after
               notice of the court's action...(Emphasis supplied)

  A Motion to Strike is plainly a "motion under this rule".

        However, assuming City Defendants' Motion to Strike is granted, the rule is

  silent regarding the date by which their Answer to the Complaint must be filed.

  There is scant authority on the question, but cases that have addressed the question
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  have held that a Fed.R.Civ.P. 12(f) motion extends the time to answer until the court

  "rules", without regard to whether than ruling grants or denies the motion:

         In this Order, the Court addresses only Mr. Barth's motion for order to answer
         and his motion for default judgment. The Court will separately address the
         merits of the United States' motion to strike or dismiss.

         Mr. Barth's motions are not proper under the Federal Rules of Civil Procedure.
         Under Rule 12(a)(2), the United States is generally required to serve an
         answer to a complaint within sixty days after service on the United States
         attorney. Fed. R. Civ. P. 12(a)(2). However, on July 23, 2018, the United
         States filed a motion to strike and to dismiss under Rule 12. Def.'s Mot. Rule
         12(a)(4) expressly provides:

               Unless the court sets a different time or postpones its disposition until
               trial, the responsive pleading must be served within 14 days after notice
               of the court's action.

         Fed. R. Civ. P. 12(a)(4). This Rule clarifies that, once the United States filed
         a Rule 12 motion, the period within which the United States was required
         to file an answer was tolled until fourteen days after the Court rules on
         its motion. For this reason, neither Mr. Barth's motion for order to answer nor
         his motion for default judgment is meritorious.(Emphasis supplied)2

  See Barth v. United States ofAmerica, 2018 WL 4567702 (U.S.D.C. D. Maine).

  Sensibly, courts grant movants 14 days to answer after the court rules, both when




      2 One   magistrate judge in similar circumstances has granted a motion to extend,
  see, e.g., Russo v. Lopez, Case No.2:11-cv-00284-PMP-GWF.rOn April 13,2012,
  Russo filed a Second Amended Complaint (#106). Shortly thereafter, Defendants
  Lopez and Aster Elements filed a Motion to Strike the Second. Amended Complaint
  (#111), arguing that the requested amendment is untimely. Out of an abundance of
  caution, Defendants Lopez and Aster Elements request the Court extend the time for
  answering the Second Amended Complaint until 14 days after decision on the
  Motion to Strike in accordance with Rule 12(a)(4)(A). The Court will grant such
  request."]
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   the court grants and denies a motion to strike. This makes sense under the current

   circumstances as well, when, as a result of this court's ruling granting the great

   majority of City Defendants' Motion to Dismiss, dozens of allegations in the

   Complaint are now irrelevant, and "impertinent", and should not require any

  response from City Defendants.

         B.     EVEN IF THE CITY DEFENDANTS ARE NOT ENTITLED TO
                DEFER ANSWERING AS A MATTER OF RIGHT, A STAY
                UNTIL 14 DAYS AFTER THIS COURT RULES ON THE
                MOTION TO STRIKE IS PRUDENT AND EQUITABLE.

         The requested stay is prudent and equitable for several reasons. First, City

  Defendants are filing this motion promptly, and propose hearing by the court at the

  May 15, 2019 status conference. Accordingly, no significant delay is sought or

  expected, and the answer will be filed within 14 days of the court's decision

  regarding the Motion to Strike.

         Further, the Fourth Amended Class Action Complaint is approximately 225

  pages and 660 paragraphs long. The normal 14 days to answer the normal complaint

  is not the appropriate time period in these circumstances.

         Finally, it is inefficient and unfair to require the City Defendants to answer

  without knowing what allegations of the complaint need answering.

  III.   CONCLUSION

         In light ofthe foregoing, City Defendants respectfully request that the court

  extend the time in which City Defendants must answer until 14 days after the date


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   it rules on the Motion to Strike, without regard to whether the court's ruling grants

   or denies that Motion.

   Respectfully submitted,


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  Dated: April 15, 2019
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                          CERTIFICATE OF SERVICE

         I hereby certify that on April 15, 2019, I electronically filed the above
  document with the Clerk of the Court using the ECF system, which will send
  notification of such filing to all counsel of record.


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